







		NO. 12-09-00030-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



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IN RE: CHRISTOPHER IVORY,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


	In this original mandamus proceeding, Relator Christopher Ivory complains that the trial
court granted his motion for judgment nunc pro tunc, but its subsequent order does not include the
relief requested in his motion.  Specifically, Relator alleges that the jury did not find facts supporting
a deadly weapon finding, but the trial court included such a finding in its judgment.  He further
alleges that he filed his motion for judgment nunc pro tunc pointing out this discrepancy, and the trial
court granted the motion, but its order granted additional jail time credit instead of deleting the
deadly weapon finding in the judgment.  Therefore, he concludes that, through confusion, the wrong
language was included in the order and requests an order from this court requiring the trial court to
forward to him "a true and certified copy of Nunc Pro Tunc." (1)

	We review Relator's pro se petition for writ of mandamus with patience and liberality.  See
Barnes v. State, 832 S.W.2d 424, 426 (Tex. App.-Houston [1st Dist.] 1993, orig. proceeding).  In
doing so, we note that a certified copy of the order signed by the trial court would provide Relator
no relief from the deadly weapon finding in the judgment.  Because Relator alleges that the trial
court granted his motion for judgment nunc pro tunc, but ordered the wrong relief (additional jail
time credit), we conclude that Relator is actually seeking an order from this court directing the trial
court to sign a second judgment nunc pro tunc that does not include a deadly weapon finding.

	In a criminal case, mandamus relief is authorized only if the relator establishes that (1) he has
no other adequate legal remedy and (2) under the facts and the law, the act sought to be compelled
is purely ministerial.  State ex rel. Hill v. Fifth Court of Appeals, 34 S.W.3d 924, 927 (Tex. Crim.
App. 2001).  Moreover, a relator has the burden to provide a record establishing his right to
mandamus relief.  See Tex. R. App. P. 52.3(j)(1)(A) (appendix to mandamus petition must contain
a copy of any order complained of, or any other document showing the matter complained of); Tex.
R. App. P. 52.7(a)(1) (relator must file with the mandamus petition a copy of every document that
is material to his claim for relief); Walker v. Packer, 827 S.W.2d 833, 837 (Tex. 1992).  Although
Relator refers to the trial court's order as exhibit D in his mandamus petition, the exhibit is not
attached.  Further, Relator has furnished only a partial reporter's record, which includes a portion,
but not all, of the trial court's comments upon the jury's return of its verdict.  A partial reporter's
record is insufficient for our review.  See Wilson v. State, 677 S.W.2d 518, 521 (Tex. Crim. App.
1984) (nunc pro tunc improper without proof that proposed judgment was actually rendered or
pronounced at an earlier time).  Because Relator's petition is not accompanied by a proper record,
we are unable to evaluate the merits of his claim.  Accordingly, Relator's petition for writ of
mandamus is denied.  See Tex. R. App. P. 52.8(a). 


								     BRIAN HOYLE    

									   Justice



Opinion delivered January 30, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.












(DO NOT PUBLISH)
1.   This is not the only conclusion that can be drawn from the facts alleged by Relator.


